 Case 1:20-cv-00354-JTN-PJG ECF No. 18 filed 07/16/20 PageID.201 Page 1 of 2



                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF MICHIGAN

THOMAS WILKES, individually and
on behalf of others similarly situated,
                                                       Case No. 1:20-cv-354
       Plaintiffs,
v.                                                     Hon. Janet T. Neff

CITIZENS INSURANCE COMPANY
OF THE MIDWEST, as Indiana corporation,

                       Defendants.


Nick Suciu III (P72052)                             Lori McAllister (P39501)
BARBAT MANSOUR SUCIU &                              DYKEMA GOSSETT PLLC
TOMINA, PLLC                                        Attorneys for Defendant
Attorney for Plaintiff                              201 Townsend St., Suite 900
6905 Telegraph Rd, Ste. 115                         Lansing, MI 48933
Bloomfield Hills, MI 48301                          Telephone: (517) 374-9150
Telephone: (313) 303-3472                           lmcallister@dykema.com
nicksuciu@bmslawyers.com



                STIPULATION TO DISMISSAL WITHOUT PREJUDICE

       The parties, through their undersigned counsel, hereby stipulate to the dismissal of this

matter without prejudice, and without costs and fees to any party.



/s/ Nick Suciu (w/permission)                       /s/ Lori McAllister
Nick Suciu III (P72052)                             Lori McAllister (P39501)
BARBAT MANSOUR SUCIU & TOMINA,                      DYKEMA GOSSETT PLLC
PLLC                                                Attorneys for Defendant
Attorney for Plaintiff                              201 Townsend St., Suite 900
6905 Telegraph Rd, Ste. 115                         Lansing, MI 48933
Bloomfield Hills, MI 48301                          Telephone: (517) 374-9150
Telephone: (313) 303-3472                           lmcallister@dykema.com
nicksuciu@bmslawyers.com

Dated: July 16, 2020                                Dated: July 16, 2020
 Case 1:20-cv-00354-JTN-PJG ECF No. 18 filed 07/16/20 PageID.202 Page 2 of 2



                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN

THOMAS WILKES, individually and
on behalf of others similarly situated,
                                                    Case No. 1:20-cv-354
       Plaintiffs,
v.                                                  Hon. Janet T. Neff

CITIZENS INSURANCE COMPANY
OF THE MIDWEST, as Indiana corporation,

                        Defendants.


Nick Suciu III (P72052)                          Lori McAllister (P39501)
BARBAT MANSOUR SUCIU &                           DYKEMA GOSSETT PLLC
TOMINA, PLLC                                     Attorneys for Defendant
Attorney for Plaintiff                           201 Townsend St., Suite 900
6905 Telegraph Rd, Ste. 115                      Lansing, MI 48933
Bloomfield Hills, MI 48301                       Telephone: (517) 374-9150
Telephone: (313) 303-3472                        lmcallister@dykema.com
nicksuciu@bmslawyers.com




                     ORDER DISMISSING CASE WITHOUT PREJUDICE

       Upon the stipulation of the parties, and the Court being otherwise fully advised in the

premises:

       IT IS HEREBY ORDERED that this case is dismissed without prejudice and without costs

or fees to any party.

       SO ORDERED.


DATED:__________________                          _________________________
                                                  Hon. Janet T. Neff
